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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                              Crim. No. 14-322(2) (SRN/TNL)

                     Plaintiff,
                                                                ORDER
      v.

Derrick Lynch (2),

                     Defendant.


Benjamin Bejar and Thomas M. Hollenhorst, Office of the United States Attorney, 300
South Fourth Street, Suite 600, Minneapolis, Minnesota 55415, for Plaintiff United States
of America

Derrick Lynch, No. 18165-041, United States Penitentiary-Terre Haute, P.O. Box 33,
Terre Haute, Indiana 47808, Pro Se


SUSAN RICHARD NELSON, United States Magistrate Judge

      The above matter comes before the Court on Defendant Derrick Lynch’s Pro Se

Motion to Stay Restitution Orders [Doc. No. 314], filed on December 28, 2016. For the

reasons set forth below, the Court denies Defendant’s motion.

I.    BACKGROUND

      The Government’s Indictment in this case charged Lynch and his co-defendant

Marvin Spencer with robbing a Pawn America store in Roseville, Minnesota, taking

approximately $78,350.50 worth of jewelry, and using actual and threatened force,

violence, and fear of injury to accomplish the robbery. (Indictment, Counts 1 & 3 [Doc.

No. 20].)

      On December 17, 2014, Defendant pleaded guilty to Counts 1 and 3 of the
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Indictment, which charged him with interference with commerce by robbery, in violation

of 18 U.S.C. §§ 2 and 1951, and using and discharging a firearm during and in relation to

a crime of violence, in violation of 18 U.S.C. §§ 2 and 924(c)(1)(A)(iii). (Minutes of

12/17/14 Hearing [Doc. No. 42].) And, relevant here, Lynch agreed that, aiding and

abetting each other, he and his co-defendant had taken approximately $58,350.50 worth

of jewelry.1 (Plea Agmt. at 2 [Doc. No. 43].)

       Prior to Lynch’s sentencing hearing and co-defendant Spencer’s trial, the

Indictment was superseded to reflect that approximately $58,358.50 worth of jewelry was

stolen from Pawn America.2 (Superseding Indictment, Count 1 [Doc. No. 93].) The

Government established the amount of loss at the trial of Lynch’s co-defendant. (See

Gov’t Ex. 83.)

       On June 27, 2016, this Court sentenced Lynch to a 180-month term of

imprisonment, consisting of 60 months on Count 1, and 120 months on Count 3, to be

served consecutively. (Sentencing J. at 2 [Doc. No. 247].) In addition, Defendant was

ordered to pay a total of $59,171.43 in restitution. (Id. at 5.) Specifically, the restitution

amount assessed the following: $15,000 to Pawn America Minnesota, LLC, $43,350.50 to


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        Lynch’s plea agreement listed jewelry valuations of both $58,350.50 and
$78,350.50. (Plea Agmt. at 2 [Doc. No. 43].) It is the lesser amount, $58,350.50, which
forms the basis of the restitution award.
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          The Government notes an $8.00 discrepancy between the amount in the
restitution numbers ($15,000 + $43,350.50 = $58,350.50) and the proven loss of
$58,358.50. (Gov’t’s Opp’n Mem. at 3, n.4 [Doc. No. 318].) The Court agrees that this
discrepancy is of no consequence since it inures to Lynch’s benefit. The Court assessed
the lower amount, prior to the addition of $820.93 to the Minnesota Crime Victims
Reparations Board.

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Hanover Insurance Company, and $820.93 to the Minnesota Crime Victims Reparations

Board.3 (Id.) Lynch did not contest restitution in his sentencing position papers or at his

sentencing.

       On December 28, 2016, Defendant filed the instant motion seeking a stay of the

restitution order. While Lynch concedes his culpability as an “aider and abetter” of the

charges to which he pleaded guilty, he argues that the Court erred in assessing restitution.

(Def.’s Mot. at 4.) Lynch appears to argue that the restitution order was not supported by

witness testimony or sworn statements. (Id.) Rather, he contends that there were no

specific findings, “asides [sic] from smashing the display case holding the aforesaid

jewelry, that [D]efendant possessed the jewelry which his co-defendant placed in a duffle

bag and carried away.” (Id. at 5.)

II.    DISCUSSION

       The Mandatory Victim Restitution Act (“MVRA”) provides that a sentencing court

may order a defendant who commits a qualifying offense to make restitution to the

victim. 18 U.S.C. § 3663A(a)(1).

       Defendant appears to argue that there was no finding that he ever possessed the

jewelry that was stolen from Pawn America. (Def.’s Mot. at 3.) His argument lacks

merit. In his plea agreement, Lynch expressed his understanding that § 3663A of the

MVRA applied and that the Court was required to order him to make restitution to the

victims of his crimes. (Plea Agmt. ¶ 10.) At the change of plea hearing, and as set forth

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        Co-Defendant Marvin Spencer was ordered to pay restitution in the same
amount. (Am. Sentencing J. at 5 [Doc. No. 269].)

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in his plea agreement, Lynch admitted to entering Pawn America with co-defendant

Spencer, who discharged his weapon; Lynch then smashed the glass display cases and

removed the jewelry, placing it in a duffel bag. (Plea Agmt. ¶ 2.) Lynch agreed that he

and Spencer left the store with the stolen jewelry, got into a vehicle, and departed. (Id.)

While Lynch now contends that Spencer ultimately retained the duffel bag, (Def.’s Mot.

at 3), the fact remains that Lynch pleaded guilty to taking the jewelry and leaving the

store with Spencer. (Plea Agmt ¶ 2.) Where more than one defendant contributes to the

loss of a victim, the court may make each defendant liable for payment of the full amount

of restitution. 18 U.S.C. § 3664(h). The Eighth Circuit has thus observed that restitution

is authorized “‘for all of the losses that [the defendant] caused, not simply the losses that

wound up in [his] own pocket.’” United States v. Moten, 551 F.3d 763, 768 (8th Cir.

2008) (quoting United States v. Hunt, 521 F.3d 636, 648 (6th Cir. 2008)).

       The Court likewise rejects Defendant’s argument concerning a lack of findings to

support the award of restitution. The government proved the amount of loss at the trial of

Lynch’s co-defendant. As noted, Lynch agreed in his change of plea hearing, to having

taken approximately $58,350.50 worth of jewelry. Accordingly, restitution in that

amount was properly awarded, in addition to an assessment of $820.93 in favor of the

Minnesota Crime Victims Reparations Board.

       Finally, Lynch fails to indicate the basis of this Court’s alleged jurisdiction to stay

the imposition of its restitution order, imposed nearly seven months ago. For all of these

reasons, his motion is denied.



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THEREFORE, IT IS HEREBY ORDERED that:

      Defendant Derrick Lynch’s Pro Se Motion to Stay Restitution Orders [Doc. No.

314] is DENIED.



Dated: January 18, 2017

                                             s/Susan Richard Nelson
                                             SUSAN RICHARD NELSON
                                             United States District Judge




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